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 7
                            UNITED STATES DISTRICT COURT
 8                        SOUTHERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA                   ) Case No.: 08cr988 BTM
10                                              )
                  Plaintiff,                    ) ORDER GRANTING IN PART AND
11                                              ) DENYING IN PART MOTION (DOC
     v.                                         ) 335)
12                                              )
     JOSE CARLOS CHASE                          )
13                                              )
                  Defendant.                    )
14                                              )

15
           Defendant Jose Carlos Chase has moved the Court to require the Clerk to
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     certify and authenticate the file in this case. Given the attachment to the motion
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     which indicates a dispute as to how to calculate his sentencing credits, it appears that
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     the defendant seeks a certified copy of the judgment of conviction (Doc. 294). The
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     Clerk shall provide a certified copy of the judgment of conviction to the defendant.
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 1   His motion for certified documents is GRANTED as to Doc. 294, but otherwise

 2   DENIED.

 3         The Defendant also seeks relief contending that the Bureau of Prisons has not

 4   credited him with pre-conviction detention in state court. This claim goes to the

 5   execution of the sentence and must be raised in the district where the defendant is

 6   confined – the Central District of California – pursuant to a petition for a writ of

 7   habeas corpus under 28 U.S.C. 2241. Brown v. United States, 610 F.2d 672, 677 (9th

 8   Cir. 1980); McRae v. Rios, 2013 WL 1758770, at *2 (E.D. Cal. Apr 24, 2013);

 9   Hawkins v. Winn, 2013 WL 6800913, at *2 (D. Ariz. Dec. 23, 2013). Therefore, the

10   request for relief is denied without prejudice.

11   GRANTED IN PART AND DENIED IN PART

12   IT IS SO ORDERED.

13   Dated: May 29, 2014                     ______________________________________
                                                BARRY TED MOSKOWITZ, Chief Judge
14                                                           United States District Court

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